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 7
     RICHARD EARL MAY, JR.
 8

 9                                 UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11
      RICHARD EARL MAY, JR.,                   )
12    Individually,                            )     No. 3:16-cv-00252-LB
                                               )
13                                             )     Hon. Laurel Beeler
                     Plaintiff,
                                               )
14    vs.                                      )     STIPULATION REGARDING
                                               )     AUTHENTICITY OF TRIAL EXHIBITS
15    SAN MATEO COUNTY, a public entity;       )
      SAN MATEO COUNTY SHERIFF’S               )
16                                             )      Trial Date: June 5, 2017
      DEPUTY CHRIS LAUGHLIN; DEPUTY
                                               )      Time: 8:30 a.m.
      ERIC MICHEL; and DOES 1 through 10,
17                                             )      Place: Courtroom C, 15th Floor, USDC
      individually, Jointly and Severally,
                                               )
18                                             )
                     Defendants.               )
19                                             )
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 1          Pursuant to the Court’s Final Pretrial Order (Doc. 126, § III (F)), the parties hereby

 2   stipulate that the following trial exhibits/records are authentic pursuant to Federal Rule of

 3   Evidence 901:

 4              1. Trial Exhibit 41 (California Commission on Peace Officer Standards and Training

 5                   (POST) Learning Domain 1, Leadership, Professionalism, and Ethics, Version 5,

 6                   published 1997, copyright 2005, revised July 2005) (pp. 2-1–end);

 7              2. Trial Exhibit 42 (POST Learning Domain 6, Property Crimes, Version 5, published

 8                   1998, copyright 2008, revised January 2008) (pp. 1-23; 1-30; 3-4–3-6);

 9              3. Trial Exhibit 43 (POST Learning Domain 15, Laws of Arrest, Version 3, published

10                   1998, copyright 2006; revised January 2006) (pp. 2-1–4-12);

11              4. Trial Exhibit 44 (POST Learning Domain 20, Use of Force, Version 2, published

12                   1998; copyright 2005, revised February 2006) (pp. 2-1–2-16; 4-1–6-6; 609);

13              5. Trial Exhibit 20 (Deputy John Sanchez’s Report in Case No. 15-00012) (CSM

14                   00053-00058);

15              6. Trial Exhibit 21 (Defendant Chris Laughlin’s Supplemental Report in Case No. 15-

16                   00012) (CSM 00059-00063);

17              7. Trial Exhibit 22 (Scott King’s Supplemental Report in Case No. 15-00012) (CSM

18                   00065-00066);

19              8. Trial Exhibit 23 (Deputy Eric Michel’s Supplemental Report in Case No. 15-00012

20                   (CSM 00065-00066);

21              9. Trial Exhibit 32 (Sgt. Ramos’ Apprehension Report (Ex. 25 to the depositions

22                   (Ramos) (CSM 00676–00679));

23          Pursuant to the Court’s Final Pretrial Order (Doc. 126, § III (F)), the parties hereby

24   stipulate that the following trial exhibits/records are both authentic pursuant to Federal Rule of

25   Evidence 901 and business records pursuant to Federal Rule of Evidence 803(6):

26              1. Trial Exhibit 3 (Photos (10) of construction site) (CSM_MAY_00546–00551;

27                   00555–00558);

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 1            2. Trial Exhibit 6 (Photos (3) of Plaintiff May’s right leg injuries)

 2                (CSM_MAY_00537–00539);

 3            3. Trial Exhibit 7 (Photos (5) of Plaintiff May’s injuries at the hospital)

 4                (CSM_MAY_00540–00544);

 5            4. Trial Exhibit 8 (Photos of Plaintiff May without “I Met Riggs” sticker; Photo of

 6                Plaintiff May with “I Met Riggs sticker”) (CSM_MAY_00545;

 7                CSM_MAY_00560);

 8            5. Trial Exhibit 13 (Computer-Aided Dispatch (CAD) Sheet) (CSM_MAY_01880–

 9                01883);

10            6. Trial Exhibit 14 (Audio recording of communications between dispatch and

11                deputies on January 1, 2015);

12            7. Trial Exhibit 16 (Audio recording with unknown officer informing dispatch that

13                they might have a dog bite);

14            8. Trial Exhibit 24 (Citation to Richard May) (CSM_MAY_00040);

15            9. Trial Exhibit 25 (Citation to Sharon Coster) (CSM_MAY_00039);

16            10. Trial Exhibit 27 (Letter, dated April 7, 2015, from DDA Gauthier to Richard May)

17                (CSM_MAY_00307);

18            11. Trial Exhibit 28 (Email, January 1, 2015, 2:52 a.m., from Laughlin to Loubal,

19                Ramos (Ex. 8 to the depositions (Laughlin) (CSM 00034));

20            12. Trial Exhibit 29 (Email from Defendant Laughlin to Sgt. Loubal, 01/02/2015,

21                20:25, with six photos attached (Ex. 18 to the depositions) (Laughlin) (CSM

22                00020–CSM00032));

23            13. Trial Exhibit 30 (San Mateo County Sheriff’s Office’s certification of no criminal

24                history for Richard May, dated July 6, 2015) (PLF. 000050);

25            14. Trial Exhibit 31 (Use of Force Report) (Ex. 26 to the depositions (Ramos) (CSM

26                02439–02440));

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 1            15. Trial Exhibit 33 (Deployment Log for Incident) (Ex. 27 to the depositions (Ramos)

 2                (CSM 00354));

 3            16. Trial Exhibit 34 (Selected bite photos from Laughlin-Riggs’ bites preceding the

 4                incident on January 1, 2015. The parties further stipulate that these are photos from

 5                Riggs’ bites pre-dating the incident on January 1, 2015. However, Defendants do

 6                not stipulate to the admissibility of the purported metadata as business records);

 7            17. Trial Exhibit 35 (Apprehension Report for Laughlin-Riggs’ other bite—the parties’

 8                stipulation affects only the apprehension report dated July 14, 2014)

 9                (CSM_MAY_03344–03347). However, the admissibility of the Apprehension

10                Reports in Exhibit 35 is subject to the Court’s ruling on Defendants’ Motion in

11                Limine;

12            18. Trial Exhibit 36 (San Mateo County Sheriff’s Office’s General Order § 5-01, Use

13                of Force, rev’d. February 22, 2010) (CSM_MAY_00219–00233);

14            19. Trial Exhibit 37 (San Mateo County Sheriff’s Office’s General Order § 5-09,

15                Canine Unit, rev’d. March 1, 2007) (CSM_MAY_00263–00264);

16            20. Trial Exhibit 38 (San Mateo County Sheriff’s Office’s Canine Services Unit

17                Manual) (CSM 00268–00288);

18            21. Trial Exhibit 39 (San Mateo County Sheriff’s Office’s General Order § 2-01, rev’d

19                October 14, 2008, Standards of Conduct and Performance) (CSM_MAY_00102–

20                00106);

21            22. Trial Exhibit 40 (San Mateo County Sheriff’s Office’s General Order § 2-04,

22                Compliance with Policies, Procedures, and Directives, rev’d. March 1, 2007)

23                (CSM_MAY_00111);

24            23. Trial Exhibit 48 (Plaintiff May’s San Mateo County Medical Center Emergency

25                Room Medical Records for January 2, 2015) (PLF. 000001–000015);

26            24. Trial Exhibit 50 (Plaintiff’s Medical Records for wound follow-up care at Half

27                Moon Bay Family Medical Clinic) (4 pages; Doc. 67-14);

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 1              25. Trial Exhibit 51 (Transparent California screenshots showing Defendant Laughlin’s

 2                  salary information, 2011–present);

 3              26. Trial Exhibit 70 (Google Earth Aerial Screenshot of 1 Bloom Lane and surrounding

 4                  area (as of December 2016);

 5              27. Trial Exhibit 71 (Photos of 1 Bloom Lane at the time of the incident including

 6                  signage) (CSM 00552-00554);

 7              28. Trial Exhibit 75 (San Mateo County Sheriff’s Office’s General Orders)

 8                  (CSM_MAY_00067–00267);

 9              29. Trial Exhibit 76 (San Mateo County Sheriff’s Office’s Canine Manual)

10                  (CSM_MAY_00268–000306);

11              30. Trial Exhibit 77 (Audio recordings of Jatagan security alarms);

12              31. Trial Exhibit 78 (Audio recording of post-Miranda interview of Richard May);

13              32. Trial Exhibit 79 (Audio recording of post-Miranda interview of Sharon Coster);

14              33. Trial Exhibit 82 (Plaintiff’s AMR Medical Records) (PLF. 00040–00049);

15              34. Trial Exhibit 83 (Photos taken of the incident scene on January 1, 2015) (CSM

16                  02638).

17          The parties reserve the right to object to the admissibility of all or any portion of the listed

18   exhibits for reasons other than those stipulated herein.

19
     SO STIPULATED.
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     Dated: June 3, 2017                           HADDAD & SHERWIN LLP
21

22                                                 /s/ T. Kennedy Helm
                                                   T. KENNEDY HELM
23
                                                   Attorneys for Plaintiff
24
     Dated: June 3, 2017                           JOHN C. BEIERS
25                                                 SAN MATEO COUNTY COUNSEL

26                                                 /s/ Brian Kulich*

27                                                 BRIAN KULICH
                                                   Deputy County Counsel
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 1                                                Attorneys for Defendants SAN MATEO COUNTY,
                                                  SAN MATEO COUNTY SHERIFF DEPUTY
 2                                                CHRIS LAUGHLIN
 3

 4   *Mr. Kulich provided his consent that this document be electronically filed.
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